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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

RECIPROCITY INDUSTRIES, LLC,

                           Plaintiff,
                                        Case No. 21-MC-00011-SPW-TJC
               v.
                                        ORDER GRANTING STIPULATION
CENTURY INDEMNITY
                                              TO EXTEND TIME
COMPANY,


Defendants.


     Pursuant to the Parties’ Stipulation to Extend Time, Defendant shall have up

to and including November 15, 2021 to respond to Plaintiff’s Motion to Quash

Subpoena and Brief in Support of Motion to Quash Subpoena.

     DATED this ___ day of October, 2021.



                                            _____________________________
                                            Timothy J. Cavan, Magistrate Judge
                                            United States District Court




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